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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF FLORIDA
                                GAINESVILLE DIVISION

UNITED STATES OF AMERICA,

       Plaintiff,

v.                                                              CASE NO. 1:06-cr-00027-MP -AK

FREDERICK CHARLES HALL,

       Defendant.

_____________________________/

                                             ORDER

       This matter is before the Court on Doc. 232, Motion to Receive a Courtesy Copy of

Doc.115, Plea Agreement, and Doc. 204, Certification of Substantial Assistance, by Frederick

Charles Hall. Defendant Hall requests copies of his plea agreement and the government’s

certification of substantial assistance to assist in his post-conviction motion for relief. The

government has no objection to this request. Accordingly, it is hereby

       ORDERED AND ADJUDGED:

       1.      The motion to receive courtesy copies of Doc. 115 and Doc. 204 is GRANTED.

       2.      The Clerk is directed to forward copies of Doc. 115, Plea Agreement, and Doc.
               204, Certification of Substantial Assistance, to Defendant.


       DONE AND ORDERED this              5th day of April, 2011


                                        s/Maurice M. Paul
                                  Maurice M. Paul, Senior District Judge
